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IN THE UNITED sTATEs D:sTRIcT coUP.T ' `En. BY-- D_.O.
FoR THE WESTERN DIsTRIcT oF TENNESSEE ,OSJU~
wEsTERN DIVIsIoN 30 FH 33 _|5
DoNALD R. DePRIEsT, w%%§gFEEHEUW
f - litia

Plaintiff,

No. 02-2177 Ml/An
v.

ELLEN HARDYMON, and MSB
FINANCIAL SERVICES CORP.,

vvvv`I`-l~\-lv\\-'

Defendants.

 

ORDER DENYING WITHOUT PREJUDICE DEFENDANT MSB FINANCIAL SERVICES
CORPORATION'S MDTION FOR ATTORNEYS’ FEES

 

Before the Court is Defendant MSB Financial Services
Corporation’s Motion for Attorneys' Fees, filed May 26, 2005.
Plaintiff responded in opposition on June 6, 2005. For the
following reasons, Defendant's motion is DENIED without
prejudice.

The instant case arose out of Defendants' sale to Plaintiff
of stock in a Tennessee corporation on November 15, 1999.
Plaintiff subsequently filed this suit, claiming that Defendants
misrepresented or failed to disclose material facts relating to
the transaction. Defendant MSB Financial Services Corporation
(“MSB”) counterclaimed against Plaintiff for the balance due
under a promissory note tendered as part of the consideration for
the stock. A non-jury trial was held on April 25 and 26, 2005.

in favor of Defendants on all of

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with Hu|e 58 and/or 79(a) FHCP on

After trial, the Court rule

 
  
 
 

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Plaintiff’s claims and in favor of MSB on its counterclaim for
the amount due under the note. (See Court’s Decision and Entry,
May 5, 2005 (Docket No. 75).)

The Court's May 5, 2005, Minute entry noted that MSB is also
entitled to receive litigation expenses and reasonable attorney’s
fees and MSB was allowed to submit an application for fees and
expenses.1 On May 26, 2005, MSB submitted an application for an
award of $256,761.61 in attorneys’ fees and expenses incurred
throughout this litigation. Plaintiff contends that the fee
request is excessive primarily because the Court's fee award
related only to the prosecution of MSB's counterclaim, whereas
the fee request is for all costs and fees related to the
litigation.

MSB’s entitlement to reasonable costs and attorneys' fees

arises from the terms of the promissory note between the parties.

 

1 The section of the Court's May 5, 2005, Decision that

specified MSB's entitlement to litigation expenses and reasonable

attorneys’ fees reads as follows:
With regard to the counterclaim, the Court finds that
Defendant MSB has met its burden of proof. MSB is the
current holder of the Note. Plaintiff has failed to
pay in accordance of the terms of the Note. The unpaid
principal balance due on the Note is $105,093.61. As
of May 5, 2005, the interest due on the Note is
$38,075.55. Defendant is therefore entitled to a
judgment in the amount of $l43,l69.16. Defendant also
is entitled to receive litigation expenses and
reasonable attorney fees. Defendant is therefore
directed to submit an application for fees and
expenses.

(May 5, 2005, Decision and Entry at 6.)

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That note states: “[i]f suit is brought to collect this Note, the
Note holder shall be entitled to collect all reasonable costs and
expenses of suit, including, but not limited to, reasonable
attorney’s fees.” (Trial Ex. 2.) MSB contends that, in order to
collect on the note, it first had to successfully defend against
Plaintiff's affirmative claims. However, the plain terms of the
note only authorize MSB to collect reasonable costs and expenses
of a suit to collect on the Note, not any costs or fees incurred
in defending litigation related to the Note. Accordingly, MSB's
motion for attorneys' fees is DENIED without prejudice. MSB is
granted leave to submit a renewed motion for attorneys' fees that
requests and itemizes only costs and expenses of its counterclaim
to collect on the Note within 15 days of the date of entry of

this order.

so oRDERED this LZQO day of June, 2005.

mild

JO P. MCCALLA
U ITED STATES DISTRICT JUDGE

 

   

UNDITE STATES DISTRICT oURT - WETRNDISTRICT oF ENNESSEE

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This notice confirms a copy cf the document docketed as number 87 in
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Robert K. Alvarez

BOURLAND HEFLIN ALAREZ & 1\/1[NOR
5400 Pcplar Avenue

Ste. 100

1\/lemphis7 TN 38119

Jeffrey A. Yeager

SQUIRE SANDERS & DEMPSEY LLP
1300 Huntington Center

41 S. High Street

Columbus, OH 43215

Keith Shumate

SQUIRE SANDERS & DEMPSEY LLP
1300 Huntington Center

41 S. High Street

Columbus, OH 43215

John Marshall J ones

BOURLAND HEFLIN ALAREZ & 1\/1[NOR
5400 Pcplar Avenue

Ste. 100

1\/lemphis7 TN 38119

William M. Jeter

LAW OFFICE OF WILLIAM .TETER
35 Union Ave.

Ste. 300

1\/lemphis7 TN 38103

John J. Het]in

BOURLAND HEFLIN ALAREZ & 1\/1[NOR
5400 Pcplar Avenue

Ste. 100

1\/lemphis7 TN 38119

Honcrable J on McCalla
US DISTRICT COURT

